Case 9:08-cv-80736-KAM Document 285 Entered on FLSD Docket 01/12/2015 Page 1 of 6



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                               Case No. 08-80736-CIV-MARRA/JOHNSON

     JANE DOE #1 AND JANE DOES #2

              Plaintiffs,

     vs.

     UNITED STATES OF AMERICA,

              Defendant.

     ________________________________/

                         ALAN DERSHOWITZ’S SUPPLEMENT TO HIS
                        MOTION FOR LIMITED INTERVENTION (DE 282)

              Alan M. Dershowitz, a nonparty to this litigation, respectfully supplements his

     previously filed Motion for Limited Intervention (DE 282), as follows1:

              The rights afforded by the Crime Victims’ Rights Act, 18 U.S.C. § 3771(a)(5)

     (hereinafter the “CVRA”), including the right to “confer with the attorney for the

     Government in the case,” is a right that this Court has concluded applies before criminal

     charges are filed and concomitantly before a Non-Prosecution Agreement is entered.

     (See, DE 99 and DE 189 at 8.) The decision to not pursue federal criminal prosecution

     against Jeffrey Epstein was made, at latest, on September 24, 2007 when a Non-

     Prosecution Agreement (hereinafter “NPA”) was negotiated, finalized, and then executed

     by the Government and Jeffrey Epstein. The Petitioners in this case have vigorously

     argued that the decision not to federally prosecute Mr. Epstein did not moot their CVRA


     1
      In the event the Court declines to accept this submission as a supplement to Dershowitz’s pending Motion
     for Limited Intervention (DE 282), he respectfully reserves the right to include this as part of any Reply he
     might file. We hereby request the right to file a Reply.
Case 9:08-cv-80736-KAM Document 285 Entered on FLSD Docket 01/12/2015 Page 2 of 6



     rights, and that the right to “confer” should have been extended to them before the

     Government finalized the NPA. It is axiomatic, however, that the Government could not

     have conferred such rights upon a crime victim without knowing of her at the time the

     NPA was entered, as is the case with Jane Doe #4. Similarly, the Government’s alleged

     failure to confer with Jane Doe #3 before entering the NPA could not rationally be

     contingent upon information the Government first learned in December 2014, as part of

     her Motion for Joinder. (DE 279, 280.) By definition, any information not known to the

     Government prior to September 24, 2007 is immaterial to any factual or legal issue of

     whether the Government violated Jane Doe #3’s right to confer before the NPA was

     entered under the CVRA.

            Moreover, because the target of the federal criminal investigation at the time was

     Jeffrey Epstein – and not Alan Dershowitz – the salacious and false accusations against

     Mr. Dershowitz were particularly immaterial and irrelevant to this Court’s consideration

     of whether a Motion for Joinder should be allowed when made for the first time many

     years after the NPA was entered.      Instead, it is Jane Doe #3’s allegations against Mr.

     Epstein, who was in fact the target of the federal criminal investigation, that are relevant

     as those allegations, alone, would go towards qualifying her as a crime victim under

     section 3771(e) of the CVRA.

            The contemptible allegations made against Alan Dershowitz for the very first time

     in December 2014, were not included in Jane Doe #3’s statements to the Government,

     were not included in Jane Doe #3’s statements to the FBI when she was initially

     interviewed, were not included in Jane Doe #3 action for civil damages under 18 U.S.C. §

     2255 in 2009, and were not included in her tape recorded interview with her attorney
Case 9:08-cv-80736-KAM Document 285 Entered on FLSD Docket 01/12/2015 Page 3 of 6



     Bradley Edwards in April 2011. These false allegations against Alan Dershowitz are

     completely irrelevant as to whether or not she should be permitted to join this long lasting

     CVRA litigation.

            Next, to the extent that the CVRA petition also contends that the Jane Does’

     rights to notice of a public court proceeding under 18 U.S.C. § 3771(a)(2) were violated,

     (see DE 127 at 3), this right could also not be vindicated by the lodging of new

     accusations against anyone after June 30, 2008.            Rather than limit the factual

     representations made by Jane Doe #3 to her statements to the Government before that

     date, if any, which alone could conceivably have some relevance to the Government’s

     alleged statutory failure to provide adequate notice, the Movants instead rely on

     allegations against Alan Dershowitz made for the very first time (to counsel’s

     knowledge) in December of 2014.

            Tellingly, Jane Does #3 and #4’s Motion for Joinder (DE 279) never even

     attempts to address this threshold issue of timing. The CVRA calls on the district court

     to decide “any motion asserting a victim’s right forthwith” and further includes an

     expedited mandamus procedure upon a denial of relief. 18 U.S.C. § 3771(d)(3).

     Importantly, the CVRA in a sub-section titled “Limitation on Relief” states:

            [A] victim may make a motion to re-open a plea or sentence only if (A) the victim
            has asserted the right to be heard before or during the proceeding at issue and
            such right was denied; (B) the victim petitions the court of appeals for a writ of
            mandamus within 14 days…

     18 U.S.C. § 3771(d)(5). Although the matter sub judice is not technically a motion to re-

     open a federal plea, the statutory context reflects the importance of an early filing so that

     a judicial resolution can precede the service of a criminal defendant’s sentence. Clearly,

     the CVRA was not intended to allow Jane Doe #3 to now, for the first time, make new
Case 9:08-cv-80736-KAM Document 285 Entered on FLSD Docket 01/12/2015 Page 4 of 6



     allegations against innocent non-parties who were not even targets or subjects of the

     federal criminal investigation that ended with the NPA. This is particularly true given the

     facts that Jane Doe #3 knew of the NPA not later than 2008, sued Mr. Epstein under its

     provisions in 2009 (benefitting from the NPA’s requirement that Mr. Epstein not contest

     liability to any claimant suing him for damages under 18 U.S.C. § 2255), gave a recorded

     interview to her lawyer in April 2011 regarding Mr. Epstein, and had knowledge (at least

     constructive, if not actual) that this Court ruled on September 26, 2011 that CVRA rights

     apply before a formal charge is brought. (See, DE 99, DE 189 at 5, 8.) Jane Doe #3

     makes no attempt to provide a principled basis for why she would delay her request to

     join the CVRA after providing the attorney for Jane Does 1 and 2 with a taped interview

     44 months earlier.

            Finally, the attempt to connect the allegations against a non-investigated non-

     party, Alan Dershowitz, to a CVRA right to confer by contending that he “play[ed] a

     significant role in negotiating the NPA on Epstein’s behalf” and “helped negotiate an

     agreement with a provision that provided protection for himself…” is simply false. (DE

     279 at 4.) The Government can attest that the NPA was negotiated with other counsel for

     Mr. Epstein – specifically, attorneys Jay Lefkowitz and Martin Weinberg. Additionally,

     its immunity provision was intended to apply to four alleged co-conspirators, who were

     named in the original NPA and later redacted at their request. The Government will

     surely attest to the fact that at the time the NPA was drafted, Alan Dershowitz was never

     alleged to be a potential co-conspirator. And, even if he had engaged in sex with under-

     aged victims, which he most assuredly has not, the opposing lawyers would surely argue

     that he is not subject to the immunity because the alleged rape would make him an
Case 9:08-cv-80736-KAM Document 285 Entered on FLSD Docket 01/12/2015 Page 5 of 6



     alleged perpetrator, rather than a co-conspirator. To be sure, all of this is irrelevant

     because Alan Dershowitz was neither. Nor was he a suspect, subject, or target at the time

     of the NPA.

            WHEREFORE Alan M. Dershowitz respectfully requests that the Court enter an

     order granting his limited motion to intervene (DE 282) for such purposes as may be

     appropriate including submitting a motion to strike the allegations made against him and

     requesting the issuance of a show cause order against Plaintiffs’ counsel, and awarding

     such other relief that the Court deems just and proper under these unfortunate

     circumstances.

                                          Respectfully submitted,

                                          Thomas Scott, Fla. Bar No. 149100
                                          thomas.scott@csklegal.com
                                          COLE, SCOTT & KISSANE, P.A.
                                          Dadeland Centre II
                                          9150 South Dadeland Boulevard, Suite 1400
                                          Miami, Florida 33156
                                          Telephone: (305) 350-5300
                                          Facsimile: (305) 373-2294

                                          -and-

                                          /s/ Kendall Coffey
                                          Kendall Coffey, Fla. Bar No. 259681
                                          kcoffey@coffeyburlington.com
                                          Gabriel Groisman, Fla. Bar No. 25644
                                          ggroisman@coffeyburlington.com
                                          Benjamin H. Brodsky, Fla. Bar No. 73748
                                          bbrodsky@coffeyburlington.com
                                          COFFEY BURLINGTON, P.L.
                                          2601 South Bayshore Drive, PH 1
                                          Miami, Florida 33133
                                          Telephone: (305) 858-2900
                                          Facsimile: (305) 858-5261

                                          Counsel for Alan M. Dershowitz
Case 9:08-cv-80736-KAM Document 285 Entered on FLSD Docket 01/12/2015 Page 6 of 6



                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on January 12, 2015, I electronically filed the

     foregoing with the Clerk of the Court using CM/ECF. I also certify that the foregoing

     document is being served this day on all counsel of record on the Service List below via

     transmission of Notice of Electronic Filing generated by CM/ECF.

                                                             /s/ Kendall Coffey

                                              Service List

     Bradley J. Edwards                              Dexter Lee
     FARMER, JAFFE, WEISSING,                        A. Marie Villafaña
     EDWARDS, FISTOS & LEHRMAN, P.L.                 UNITED STATES ATTORNEY’S
     425 North Andrews Avenue, Suite 2               OFFICE
     Fort Lauderdale, Florida 33301                  500 S. Australian Ave., Suite 400
     Telephone (954) 524-2820                        West Palm Beach, FL 33401
     Facsimile (954) 524-2822                        (561) 820-8711
     E-mail: brad@pathtojustice.com                  Fax: (561) 820-8777
                                                     E-mail: Dexter.Lee@usdoj.gov
     and                                             E-mail: ann.marie.c.villafana@usdoj.gov

     Paul G. Cassell                                 Attorneys for the Government
     Pro Hac Vice
     S.J. Quinney College of Law at the
     University of Utah
     332 S. 1400 E.
     Salt Lake City, UT 84112
     Telephone: 801-585-5202
     Facsimile: 801-585-6833
     E-Mail: cassellp@law.utah.edu

     Attorneys for Jane Doe #1, 2, 3, and 4
